UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW MEXICO Unite
Inre: JOEL ALAN GAFFNEY, buna eee Court
d/b/a Gaffney Law, PC, » New Mexico
d/b/a American Income Life Insurance,

Case No, 21-11332-kht7
Debtor(s).

NOTICE OF AMENDMENT TO BANKRUPTCY SCHEDULE(S

 

On January 4, 2022, I filed amended schedule(s) B and Statement of Financial Affairs.
Pursuant to Local Rule 1009-1(b),! the following describes the amendment(s).”

Schedules A or B (individuals):

 

Description of Property Interest in Property Current value | Current value of

(i.¢., Debtor 1 only, Debtor 2 of entire portion owned
only, Debtor | and Debtor 2 only,

at least one debtor and another) property

 

 

1% Partnership interest in Debtor 1 only Unknown £0.00
Silverman & Sardar, LLP

 

 

 

 

 

Date: January 4, 2022 7 . | Mey

CSignature
Name: _Joel Alan Gaffney
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Email: _joel.alan.gaffney@email.com

Certificate of Service

I certify that, on the date set forth above, copies of this notice were served 1) via
CM/ECF electronic notice on all creditors and parties in interest listed on the notice of electronic
filing associated with this document; and 2) via first class mail, postage prepaid on all persons
who have requested notice in this case “WW who MWh, not receive electronic notice through
CM/ECF.

 

Fe gnature

 

"NM LBR 1009-1(b) requires that the notice of amendment “specify the amended or new information.”
* Please delete all tables and text that do not apply to the amendment. If amending Schedule C, use NM LF 4003-
1(c).

NM LF 1009-1(b)

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